
SOMMERVILLE, J.
Eor the reasons as-_ signed in the case entitled Vermilion Sugar Company v. Louis Vallee, In re Louis Vallee, Applying for Certiorari or Writ of Review to the Court of Appeals, Parish of Vermilion, State of Louisiana, 64 South. 670, ante, p. 661, and numbered 20,344, this day decided.
It is ordered, adjudged and decreed that the judgment of the Court of Appeals in this case be annulled, avoided, and reversed, and the judgment of the district court be reinstated and made the judgment of this court; costs to be paid by the plaintiff company in all courts.
PROVOSTY, J., being absent on account of illness, took no part.
